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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,      )           Cr. No. 06-00079 JMS-KSC
                               )
               Plaintiff,      )           ORDER DETERMINING THAT THE
                               )           COURT SHOULD NOT BE RECUSED
          vs.                  )           OR DISQUALIFIED
                               )
NAEEM J. WILLIAMS,             )
                               )
               Defendant.      )
______________________________ )

     ORDER DETERMINING THAT THE COURT SHOULD NOT BE
                RECUSED OR DISQUALIFIED

                               I. INTRODUCTION

             In this capital case, Defendant Naeem J. Williams (“Defendant”) has

filed a “Motion for the Court to Determine Whether It Should Be Recused as the

Trial Judge.” Doc. No. 1996. In the Motion, Defendant asks the court -- based on

the record that was developed when the court disclosed two events, sua sponte,

after this action was assigned to this court -- to make a formal determination as to

whether it should recuse or disqualify itself under 28 U.S.C. § 455(a) and Federal

Rule of Criminal Procedure 11(c)(1). After careful consideration and based on the

following, the court concludes that recusal or disqualification is unwarranted. A
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reasonable person with knowledge of all the facts could not conclude that the

court’s impartiality would be questioned.

                                    II. BACKGROUND

A.     Factual Background

               The parties are aware of the relevant facts, which the court reiterates

here in detail so as to place this Order in context, and to assure the record is clear

as to the extent and circumstances of the court’s knowledge (or lack of knowledge)

of prior plea discussions.1

               Immediately before being appointed as a United States District Judge

(effective on May 17, 2005), the undersigned was an Assistant United States

Attorney in the District of Hawaii until May of 2005. According to the First

Superceding Indictment, the death at issue in this case occurred on or about July

16, 2005 -- about two months after the undersigned began serving as a District

Judge. Doc. No. 136, First Superseding Indictment at 2. The original criminal



       1
          The government argues, in part, that Defendant’s Motion is difficult to respond to
because it does not “specifically alleg[e] the factual and legal basis for a
recusal/disqualification,” and does not clearly advocate for recusal or disqualification. Doc. No.
2008, Pl.’s Opp’n at 4. But, as detailed below, the context of the Motion is obviously based
upon the proceedings over the past several weeks, discussing: (1) a chance meeting the court
had several years ago with Assistant United States Attorney Marshall Silverberg where this case
was mentioned, and (2) a conversation the court had with United States Magistrate Judge Barry
M. Kurren where reference was made to a letter (which the parties now call a “de-authorization”
letter) addressed to the Department of Justice regarding Defendant.

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Complaint in this action was filed on July 18, 2005 against co-Defendant Delilah

Williams, followed by a criminal Complaint against Defendant on August 8, 2005.

Doc. No. 1 (Mag. No. 05-0606 BMK), Doc. No. 1 (Mag. No. 05-0676 LEK).

             With those dates in mind, soon after this case was reassigned to this

court on March 1, 2013, Doc. No. 1966, the court made the following disclosures

in open court on March 5, 2013 and again on April 2, 2013. The disclosures

concern two events where plea matters were arguably mentioned: (1) a short

exchange with Assistant United States Attorney Marshall Silverberg (who formerly

was counsel for the government in this action), and (2) a conversation with United

States Magistrate Judge Barry M. Kurren. Specifically, on March 5, 2013, the

court disclosed the following to counsel and for the record, as reflected in the

transcript of that hearing:

             . . . I was formerly in the U.S. Attorney’s Office before
             taking the bench. . . . [Until recently,] I had . . . thought I
             was never likely to touch the case because I thought I
             was in the office at the time, which would result in
             recusal. . . . But then I went back and looked at that point
             and saw it actually was shortly after I left that the case
             came into the system.
                      So with that background, several years ago, and
             the timing on this I cannot place [but it] was before the
             construction started because it was in the entrance to the
             courthouse. . . . [B]efore that construction there was an
             open . . . walkway up there.
                      And when Mr. Silverberg was still assigned to the
             case, I had seen him in that area one day. And my

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            recollection isn’t perfectly clear, but he said something to
            me about, whether it was an effort on his part, a desire on
            his part or actual discussions, I don’t know, about an
            interest at least in having Mr. Williams enter a plea of
            guilty to the guilt phase but have a trial on the penalty
            phase. It was a comment sort of in passing when I was
            just talking to him and asking him how things were going
            and somehow that subject came up. I don’t recall there
            was any other discussion I had with him and I don’t
            recall whether the discussion went any deeper than that.
            You certainly are welcome to go ask him. He may have a
            better recollection than I do.
                    I don’t believe, certainly, there were any
            disclosures about discussions with defense or anything of
            that sort going on. Just that it was either something that
            he was interested in pursuing or that the parties were
            interested in pursuing, I don’t know or can’t recall at
            least the exact nature of that conversation.
            ....
                    The only other thing I wanted to tell you is, at the
            time when I also believed I was recused from the case, I
            did know, because Judge Kurren told me, that he was as I
            recall writing a letter to DOJ seeking reconsideration,
            perhaps is what it was, of the decision on the death
            penalty. And as I recall, there was some issue about the
            defendant’s health perhaps not being what it was at the
            time of the initial decision, something along those lines.
            I don’t really recall more than that.

Doc. No. 1908, Tr. 5-6, Mar. 5, 2013.

            [T]o be clear, in part for my own benefit I wanted to lay
            out, I thought I was going to be recused if it ever came
            about this kind of situation. So normally I would not
            have a conversation of that sort with an AUSA, but I felt
            that it was a case that I could never touch in reality and it
            didn’t end up being that way.


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Id. at 7-8.

              Following those disclosures, Defendant’s counsel interviewed Mr.

Silverberg (with agreement from the government), and Mr. Silverberg provided the

following recollection in an email to counsel:

              I now recall passing by Judge Seabright in the courtyard
              and him greeting me by saying something like, “what’s
              up?” or “how’s it going?” or “how are you?” or words to
              that effect. To the best of my recollection, I responded
              something to the effect of “I am trying to get the
              Williams case to plead out.” I don’t recall saying that I
              wanted a guilty plea as to the charges and then only a
              penalty trial, although I could have. I simply don’t recall.
              All I recall was that the Judge greeted me like people
              who pass each other usually do and I responded
              something about trying to get the Williams case resolved
              with a guilty plea and that’s it. The Judge was walking
              one way and I was walking the other way and the entire
              exchange lasted about five seconds. As I recall, we never
              even came to a full stop. He was walking into the
              courthouse with his lunch and I had just left the Federal
              Building and I was on my way to buy lunch or conduct
              an errand. . . .

              Finally, to the best of my recollection, the Judge did not
              respond to my comment in any way. He went his way
              and I went my way. He may have nodded goodbye or
              waved a little as people do when they are parting but, to
              the best of my recollection, he did not respond to my
              comment in any way. I continued on my way,
              preoccupied like before, and probably forgot about the
              exchange shortly thereafter.

Doc. No. 1975-1, Def.’s Mot. at 5 (quoting email from Mr. Silverberg).


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            On April 2, 2013, at a hearing requested by Defendant to discuss the

court’s knowledge of these issues, the court made the following additional

comments in response to court filings or questions from counsel:

            . . . . I did read the email response from Mr. Silverberg.
            And it seems like his recollection is even lesser than
            mine, if you will. His was even hazier as to the extent of
            the conversation.
            ....
                     The one thing I thought in your motion, just to be
            clear, that wasn’t exactly accurate, I don’t know if what
            Mr. Silverberg, and I don’t know if I don’t know this
            because he didn’t say it or I don’t remember it, I just
            can’t answer that. I don’t know if he was talking from
            his perspective as to what he was hoping for or what the
            actual discussions were. I really don’t have any clue as
            to that as I sit here right now. All I remember is a
            discussion about this concept in some way of a plea of
            guilty to the substantive offense of some sort. There was
            no detail as to what that would be. I didn’t even know
            what the charges were other than it was a capital offense
            at the time. I had no idea of the specific nature of the
            charges.
                     And then my understanding, at least, that would
            result in, whether he said this or I just understood it, a
            trial on the penalty phase. That’s the -- with all this back
            and forth and reading this, that’s the best I can do for you
            folks as far as my recollection is really what I said before.
                     So he commented either as to a desire by him of
            some sort, a hope, a desire, I don’t know. Or that there
            were actually some discussions going on, I don’t know
            where it is in that spectrum, of an interest in some sort --
            of some sort, again, whether it’s on his part or everyone’s
            part, I don’t know, in a plea of guilty and a trial on the
            penalty phase, as I say, or at least that’s how I took it.


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                    Reading [Defendant’s] memo, [Mr. Silverberg’s]
             email, the portion of his email that you’ve set forth,
             considering this further I just can’t add anything more. I
             agree with Mr. Silverberg, I don’t believe I asked any
             followup. And I say that because I don’t remember any
             and I don’t think I would have after he said that.
                            ....
                    . . . . As to the government’s case, your case, Mr.
             Williams, whether he should plead or shouldn’t plead,
             what the right outcome is, I form[ed] no opinion
             whatsoever from that limited conversation. [It]
             [c]ertainly should be clear from that I did not promote in
             any way any plea discussions or negotiations. I did not
             discourage any plea negotiations or discussions. I had
             nothing to do with any discussions whatsoever regarding
             that.

Doc. No. 2004, Tr. 11-13, Apr. 2, 2013.

             Upon questioning from counsel regarding the encounter with Mr.

Silverberg, the court stated the following:

                    And I do recall I was coming back and he was
             going out. And that’s consistent with his memory. I do
             have that memory that I was coming in. He says I was
             coming with lunch. I don’t remember that. Makes sense
             that I had lunch in my hand, but I don’t remember that
             specifically.
                    I don’t have a clear specific recollection of how
             that conversation got started. I know Mr. Silverberg well
             enough, like hundreds of other attorneys in town that if I
             see them I say hello. Sometimes there will be a stop and
             brief conversation, How are things going, how are the
             kids, how’s whatever I may know about that person. I
             would not have begun this conversation. I mean I can
             guarantee you I did not say, What’s going on in the
             Williams case? I can absolutely guarantee you that did

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         not happen. And I can’t say I have a clear recollection of
         how it did happen in the sense of how it actually
         unfolded. But I know I did not start a conversation by
         asking him how one of his cases was going. That would
         not have happened and I can assure you did not happen.
                Mr. Silverberg says that he recalls that sort of
         “how you doing” comment and that he said something
         along as, I’m trying to get the Williams case to plead out.
         Maybe that was on his mind at that moment, maybe he
         had just come from court. I don’t know what was
         happening at the time to where he said that.
                He doesn’t recall that next step that I recall
         regarding the guilt versus the punishment phase. I have
         to say I think it was said that way, although it’s possible
         he just said, Trying to get him to plead out to the guilt
         phase and I understood what that would have meant.
         And so in my mind I just had that understanding that
         there would have been a trial. I’ve always been under the
         assumption that there is no such thing as pleading to the
         death penalty phase, that there has to be a finding by the
         jury. And so that would have been my assumption sort
         of based on if all he said was trying to get him to plead
         out.
         ....
         MR. PHILIPSBORN: . . . . And it seems as though the
         way this conversation is being characterized is that Mr.
         Silverberg unexpectedly brought up this topic to the
         Court and that the Court -- and the Court can correct me
         here -- did not interpret Mr. Silverberg’s communication
         as seeking advice from a former colleague.

         THE COURT: Absolutely not. . . . I can say that
         unequivocally. Absolutely not. Because I’ve never had
         that happen with any former AUSA and -- including Mr.
         Silverberg, and had I taken it that way I would remember
         it because I think that would be inappropriate. And
         regardless of whether or not I believed I was recused
         from the case, that’s something I would not engage in

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                and I would make it very clear I would not engage in that
                if that was the case.

Id. at 14-16.

                Later on at the April 2, 2013 hearing, the following colloquy occurred

regarding the court’s conversation with Magistrate Judge Kurren:

            THE COURT: I don’t recall more than one [meeting with
            Magistrate Judge Kurren]. I recall being in his office. I
            think I said last time, if I didn’t, my recollection is he was
            going to meet with you folks. You were sitting outside
            his office. Were you there Mr. Burt?

            MR. BURT: I was.

            THE COURT: Do you remember me coming out of the
            office?

            MR. BURT: I vaguely recall that.

            THE COURT: Okay. And he had made a comment you
            folks were out there and, I mean you call it
            de-authorization. I didn’t know that’s a term of art for
            apparently a de-authorization request. I did not know that
            term until I received your filing. But he had told me
            essentially that he was writing a letter and as I recall there
            was some mention of Mr. Williams’ health, and I take that
            as the diabetes issue, just from knowing about the diabetes
            and talking to Judge Ezra and him telling me about the
            diabetes and the concern about Mr. Williams’ health and
            to be aware of that.
            ....
                   And when I say that, Judge Ezra told me that later.
            I mean when he was off the case and I talked to him in
            Texas and he told me, you know, about the diabetes. And
            I did know the Department of Justice, I assume this is the

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            decision made either by a Deputy Attorney General or the
            Attorney General refused to de-authorize, if you will. But
            I know you folks told Judge Ezra that. So I mean that’s
            not a big surprise. That process apparently occurred.
                    So all I know is that a letter was written that
            apparently, at least my belief was from Judge Kurren, that
            there was some issue as to his health that may be a
            changed circumstance. And then I learned later, like I
            think everyone in the courthouse has learned, that that
            request was not granted.
            ....
                    . . . . So to be clear, I did not see his letter, he did
            not ask me about, you know, You’re a former AUSA, how
            would you go about writing this letter. There was no
            conversation like that whatsoever. And he initiated this
            because I didn’t know about it. I mean I couldn’t have
            initiated it. I think he was waiting to meet with you folks
            and was sort of pushing me out of the office and telling
            me why he was meeting with you, I think is what was
            happening as far as my best recollection. And I did not
            see either his letter, never have and did not see the letter
            back from the Department of Justice. So I know nothing
            more than that, than the bare facts about that. And again,
            like with Mr. Silverberg, I wasn’t out there trolling for
            information in any way. That was not what I was doing.

Id. at 17-19. After that discussion, the court responded to a question from

government counsel as follows:

             MR. CHING: Your Honor, I’ll just address the Court
             quickly. In the same way that your conversation with
             Mr. Silverberg didn’t affect your ability to -- or will not
             affect your ability to handle this case, I’m sure your
             conversation with Judge Kurren didn’t have you form
             any opinions about this case.



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                THE COURT: It did not. And let me say, I mean one of
                the requests from the defense in the memo is the effect of
                the information on the Court. And I hope you trust me
                when I say this, it really has no effect on me whatsoever.
                I mean the reality is, regardless of what the law actually
                plays out, if -- I will look at the law if we go to that next
                step very carefully. But as both of you know, judges are
                aware all the time that plea discussions are going on.
                They may not know the details of it, but it’s not at all
                uncommon for people to come into court and say, We
                need more time, we’re discussing, you know, settlement
                in the case, we’re discussing negotiation.
                       The fact that there are plea discussions can hardly
                be surprising in any case. Capital or not. And courts are
                well aware those discussions go on. And the discussion
                with Mr. Silverberg and the discussion with Judge
                Kurren, neither one of those leaves me in my own
                subjective view, there’s no question in my mind that it
                has not impacted me in any way and I would be just as
                impartial, just as unbiased, just as fair as I would be had I
                not had those conversations. So on the subjective side, I
                have no question whatsoever that this has not impacted,
                infected me if you will in any way.

Id. at 20-21.

B.    Procedural Background

                On March 18, 2013, Defendant filed a “Motion for Hearing on

Whether the Court’s Knowledge of Settlement Discussions Supports

Disqualification.” Doc. No. 1975. The court then established a two-step process

for considering whether it should be disqualified or recused: (1) an informational

phase, and (2) a consideration phase. Doc. No. 1977. A hearing was held on April


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2, 2013 on that first phase, to allow the parties to establish a factual record. Doc.

No. 1991. Following that hearing, essentially invoking the second phase,

Defendant filed the present “Motion for the Court to Determine Whether It Should

be Recused as the Trial Judge.” Doc. No. 1996. The government filed an

Opposition on April 19, 2013, Doc. No. 2008, and Defendant filed a Reply on

April 23, 2013. Doc. No. 2009. The court decides this recusal issue under Local

Rule 7.2(d) without a further oral hearing.

                                      III. DISCUSSION

               In his Motion, Defendant does not specifically advocate for recusal or

disqualification. Rather, the Motion asks the court to make a ruling in part “to

ensure the integrity of the record,” Doc. No. 1996-1, Mot. at 1, based on the facts

set forth above. Defendant’s counsel does not want affirmatively to waive a non-

frivolous recusal issue -- raised sua sponte by the court (in an action where two

Judges of this court have disqualified themselves for reasons related to knowledge

of plea discussions) -- but Defendant chooses not take a definitive position on

recusal or disqualification. Counsel’s cautious approach recognizes that the

purpose and meaning underlying Federal Rule of Criminal Procedure 11(c)(1)2

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         Rule 11(c)(1) provides in pertinent part that “[t]he court must not participate in [plea
agreement] discussions.” Prior to 2002 revisions of the Federal Rules of Criminal Procedure,
Rule 11(c)(1) was known as Rule 11(e)(1), which provided that “[t]he court shall not participate
                                                                                      (continued...)

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“are that the sentencing judge should take no part whatever in any discussion or

communication regarding the sentence to be imposed prior to the entry of a plea of

guilty or conviction, or submission to him of a plea agreement.” United States v.

Bruce, 976 F.2d 552, 556 (9th Cir. 1992) (quoting United States v. Werker, 535

F.2d 198, 201 (2nd Cir. 1976)). “Rule [11(c)(1)] simply commands that the judge

not participate in, and remove him or herself from, any discussion of a plea

agreement that has not yet been agreed to by the parties in open court.” Id.

                Given the request by Defendant, and considering the circumstances,

the court agrees that it is appropriate to rule on whether it should recuse itself

under 28 U.S.C. § 455(a).3

A.     General Standards under § 455(a)

                Section 455(a) provides that “[a]ny justice, judge, or magistrate judge

of the United States shall disqualify himself in any proceeding in which his

impartiality might reasonably be questioned.”4 The substantive standard under this

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        (...continued)
in any such discussions.” See United States v. Bradley, 455 F.3d 453, 460 n.3 (4th Cir. 2006).
This change was “intended to be stylistic only.” Fed. R. Crim. P. 11 advisory committee’s note
(2002 Amendments).
       3
          “[B]oth the language of § 455 and the Ninth Circuit precedent interpreting § 455
indicate that the judge to whom a § 455 motion is directed should decide the motion [as opposed
to another judge].” United States v. Champlin, 388 F. Supp. 2d 1177, 1180 (D. Haw. 2005).
       4
           See also Canon 3(C)(1) of the Code of Conduct for United States Judges (“A judge
                                                                                   (continued...)

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section is “whether a reasonable person with knowledge of all the facts would

conclude that the judge’s impartiality might reasonably be questioned.” Pesnell v.

Arsenault, 543 F.3d 1038, 1043 (9th Cir. 2008) (citations, quotations, and

alterations omitted). “Section 455(a) asks whether a reasonable person perceives a

significant risk that the judge will resolve the case on a basis other than the merits.”

United States v. Holland, 519 F.3d 909, 913 (9th Cir. 2008) (quoting In re Mason,

916 F.2d 384, 385 (7th Cir. 1990)). “The ‘reasonable person’ is not someone who

is ‘hypersensitive or unduly suspicious,’ but rather is a ‘well-informed, thoughtful

observer.’” Id. (quoting In re Mason, 916 F.2d at 386). And “[t]he standard ‘must

not be so broadly construed that it becomes, in effect, presumptive, so that recusal

is mandated upon the merest unsubstantiated suggestion of personal bias or

prejudice.’” Id. (quoting United States v. Cooley, 1 F.3d 985, 993 (10th Cir.

1993)). Further, “in the absence of a legitimate reason to recuse himself, ‘a judge

should participate in cases assigned.’” Id. at 912 (quoting Maier v. Orr, 758 F.2d

1578, 1583 (Fed. Cir. 1985)).

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       4
         (...continued)
shall disqualify himself or herself in a proceeding in which the judge’s impartiality might
reasonably be questioned[.]”).

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B.        Application of the Standards

               Applying § 455(a) to the court’s knowledge (or lack of knowledge) of

prior plea negotiations, and given Rule 11(c)(1)’s purpose, the court concludes that

recusal or disqualification is not warranted. Here -- even given the command of

Rule 11(c)(1) not to participate in any plea discussions, or to “take no part

whatever in any discussion or communication regarding the sentence to be

imposed prior to the entry of a plea of guilty or conviction,” Bruce, 976 F.2d at 556

-- no reasonable person with knowledge of all the facts could conclude that the

court’s impartiality might reasonably be questioned. Pesnell, 543 F.3d at 1043.

As detailed above, the court has not participated in any plea discussions in this case

at all.

               The brief, passing conversation with the government’s former counsel

-- at most -- indicated to the court that a plea discussion had occurred, would occur,

or may occur. That such discussions happen, however, is common knowledge to

any attorney and any judge. No particular information was solicited by the court

from the government, nor by the government from the court. Again, the court “did

not promote in any way any plea discussions or negotiations [and] did not

discourage any plea negotiations or discussions. [The court] had nothing to do

with any discussions whatsoever regarding that.” Doc. No. 2004, Tr. 13, Apr. 2,


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2013. The court neither sought nor received any information as to the position (if

any) of Defendant or the government regarding plea negotiations. And, as the

court stated in open court, no opinion whatsoever was formed from that brief

encounter.5

               Given all the facts set forth above, no reasonable person could

conclude that the court would be biased -- even in light of Rule 11(c)(1)’s mandate

against judicial participation in plea negotiations. See, e.g., United States v. Frank,

36 F.3d 898, 903 (9th Cir. 1994) (“The rule against judicial participation in plea

bargaining protects the parties against implicit or explicit pressure to settle criminal

cases on terms favored by the judge. It does not establish a series of traps for

imperfectly articulated oral remarks.”). Frank emphasized that language from

Bruce must not be read in isolation, but instead must be measured against a

particular factual and procedural context. Id. at 902; see, e.g., United States v.

Paul, 634 F.3d 668, 673 (2d Cir. 2011) (recognizing that “comments . . . made in a

context having little to do with plea discussions” do not run afoul of the rule)

(citing Frank) (other citations omitted).

       5
           The court has stated its subjective opinion as to whether either of these events impacted
its ability to be fair and impartial (and concluded that they have not), but the standard here is an
objective one. See, e.g., Clemens v. U.S. Dist. Court for Cent. Dist. of Cal., 428 F.3d 1175, 1178
(9th Cir. 2005) (“In analyzing § 455(a) disqualification motions, we employ an objective test:
‘whether a reasonable person with knowledge of all the facts would conclude that the judge’s
impartiality might reasonably be questioned.’”) (citations omitted).

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              Likewise, the court’s conversation with Magistrate Judge Kurren

could not reasonably be construed as implicating Rule 11(c)(1) so as to constitute a

basis for recusal. Initially, it is not at all clear that a “de-authorization” letter

would even be related to plea discussions for purposes of Rule 11(c)(1). But, even

if it were, at most the court infers from Magistrate Judge Kurren that issues related

to Defendant’s health might have some impact on the government’s seeking of the

death penalty in this case. The court is of course independently aware that the

Department of Justice must make decisions regarding pursuit of particular actions,

and that it did so here has no bearing on Rule 11(c)(1), much less a basis for

considering recusal. The court did not participate in any plea activity, did not

solicit information regarding plea discussions, and was not given any such

information. And the public records of this case make clear that Defendant was

diagnosed with diabetes in 2009, well after the date of the government’s notice of

intent to seek the death penalty. See Doc. Nos. 122 (Notice of Intent to Seek the

Death Penalty as to Defendant Naeem J. Williams, dated September 8, 2006), &

1728 (Order of October 31, 2011, discussing Defendant’s 2009 diagnosis of

diabetes).




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                That is, the court was not exposed to any plea positions, and any

knowledge gained could not constitute “participation” in plea bargaining.6

Learning of a de-authorization letter provides no reasonable basis to conclude that

the court in this particular factual context ran afoul of Rule 11(c)(1), much less that

a reasonable person would conclude that the court could not be impartial.

                Bruce set forth three general reasons why a court must avoid

participation in plea negotiations, and indicated that Rule 11(c)(1) establishes a

“bright line” rule against such participation. 976 F.2d at 556. Applying Bruce, no

violation occurred (and there is thus no objective reason for disqualification) -- if

there is a “bright line,” the court is squarely on the safe side of it.

                First, “participation is prohibited because judicial involvement in plea

negotiations inevitably carries with it the high and unacceptable risk of coercing a

defendant to accept the proposed agreement and plead guilty.” Id. (citing Werker,

535 F.2d at 202). Here, there is no risk of coercion -- at most, the court has

knowledge that plea discussions occurred. There was no “involvement,” no

“participation,” and no “proposed agreement.” There is no reason for Defendant to

feel coerced.

       6
           “Improper participation resulting in vacation [of a guilty plea] occurs, for example,
when a court comments on or mandates what it perceives to be an appropriate penalty for a
defendant in the context of plea agreement discussions.” United States v. Bierd, 217 F.3d 15, 20
(1st Cir. 2000) (citations omitted).

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             Second, “Rule 11 protects the integrity of the judicial process.” Id. at

557. “The Rule is based on the sound principle that the interests of justice are best

served if the judge remains aloof from all discussions preliminary to the

determination of guilt or innocence so that his impartiality and objectivity shall not

be open to any question or suspicion when it comes to his duty to impose

sentence.” Id. (quoting Werker, 535 F.2d at 203). “The loss of judicial integrity is

particularly serious when . . . the judge explicitly or implicitly advocates a

particular bargain.” Id. “The judge’s role must be that of a neutral arbiter of the

criminal prosecution: his involvement in the adversary process of plea negotiation

is beyond and detracts from that judicial duty.” Id.

             But here -- although the court has knowledge that the government at

one time was apparently interested in obtaining a guilty plea, and that a “de-

authorization” request letter was apparently sent to the Department of Justice by a

judicial officer -- the court has “remained aloof” from plea discussions. The court

has not “advocat[ed] a particular bargain,” and has not been involved in “the

adversary process of plea negotiation.” Id. There is no reason to suspect that the

court cannot be impartial and objective when, if it becomes necessary, imposing

sentence.




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             Third, “Rule 11 bars judicial participation in plea discussions in order

to preserve the judge’s impartiality after the negotiations are completed.” Id.

Among other reasons, “‘[s]uch involvement makes it difficult for a judge to

objectively assess the voluntariness of the plea’ eventually entered by the

defendant.” (citing United States v. Adams, 634 F.2d 830, 839 (5th Cir. 1981)

(“We cannot truly expect this role to be filled by a trial judge who has participated

in discussions leading to a plea bargain, for such a judge may . . . feel a personal

stake in the acceptance of the plea or have a preconceived notion of its validity.”)

(other citation omitted). Again, however, here the court did not “participate” in

negotiations and was not exposed to bargaining positions. The court has no stake

in any proposed agreement. It has not suggested or encouraged any position.

             Indeed, caselaw indicates that a consideration in assessing whether

Rule 11(c)(1) is implicated -- similar to the two circumstances here -- is whether a

court has addressed counsel only, and has not directly addressed the defendant.

See Bierd, 217 F.3d at 21 (“[T]he remarks of the court did not take place in the

context of plea negotiation discussions. The judge was speaking only to

counsel[.]”). Rather, the circumstances here are similar to those discussed in

United States v. Baker, 489 F.3d 366 (D.C. Cir. 2007), where a judge’s remarks did




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not “rise to the level of participation envisaged by Rule 11.” Id. at 374 (internal

quotation marks omitted).

               In Bierd, for example, the reviewing court noted the trial
               judge’s remarks were “impromptu, unemphatic, and
               unrepeated.” [217 F.3d] at 21. Likewise, the trial court’s
               comments in [Blackmon v. Wainwright, 608 F.2d 183,
               184 (5th Cir. 1979),] were “off-the-cuff remarks,”
               “initiated and pursued entirely by the defense counsel.”

Baker, 489 F.3d at 375. Like those situations, this court’s knowledge of plea

discussions was, at most, “impromptu, unemphatic, and unrepeated” and was

similar to an “off-the-cuff remark” made by counsel.

               Simply put, measured objectively and considering all the facts and

circumstances of the two incidents at issue, there is no basis for this court to recuse

itself under § 455(a). See Holland, 519 F.3d at 913-14 (“Disqualification under

§ 455(a) is necessarily fact-driven and may turn on subtleties in the particular case.

Consequently, ‘the analysis of a particular section 455(a) claim must be guided . . .

by an independent examination of the unique facts and circumstances of the

particular claim at issue.”) (quoting United States v. Bremers, 195 F.3d 221, 226

(5th Cir. 1999)). See also United States v. Larson, 110 F.3d 620, 628 (8th Cir.

1997) (affirming district court’s decision to not recuse itself, even assuming that

the court’s earlier comments violated the rule against participation in plea

bargaining).

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                                 IV. CONCLUSION

              For the foregoing reasons, the court DECLINES to recuse itself. This

Order thus resolves Doc. No. 1975 (“Motion for Hearing on Whether the Court’s

Knowledge of Settlement Discussions Supports Disqualification”) and Doc. No.

1996 (“Motion for the Court to Determine Whether it Should Be Recused as the

Trial Judge”). The Clerk of Court shall terminate those Motions. The case

remains assigned to this court for trial.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii: April 29, 2013.



                                            /s/ J. Michael Seabright
                                            _____________________________
                                            J. Michael Seabright
                                            United States District Judge




United States v. Williams, Civ. No. 06-00079 JMS-KSC, Order Determining That the Court
Should Not Be Recused or Disqualified




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